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                                   OFFICE OF THE FEDERAL DEFENDER
                                       EASTERN DISTRICT OF CALIFORNIA
                                            801 I STREET, 3rd FLOOR
                                        SACRAMENTO, CALIFORNIA 95814
Daniel J. Broderick                          (916) 498-5700 Fax: (916) 498-5710                          Linda C. Harter
Federal Defender                                                                                Chief Assistant Defender




                                      M E M O R A N D U M & ORDER

     DATE:               November 18, 2010

     TO:                 Colleen Lydon, Courtroom Deputy to the Hon. Edward J. Garcia

     FROM:               Michael Petrik, Jr., Assistant Federal Defender

     SUBJECT:            United States v. Terry Tong, No. 06-390 EJG
                         REVOCATION OF SUPERVISED RELEASE CONTINUANCE



             This is to request that the Court continue the revocation hearing set for November 19, 2010, at 10:00
     a.m., and reset it for December 10, 2010, at 10:00 a.m. The United States Attorney’s Office, and United
     States Probation, have no objection to the new date.




     Dated: November 18, 2010


                       IT IS ORDERED.

                                                              /s/ Edward J. Garcia
                                                              EDWARD J. GARCIA
                                                              United States District Judge



     /dl
     cc:       Michele Prince, AUSA
               Lori L. Koehnen, USPO
